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                    EXHIBIT 1
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                          IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

   HANSHOW TECHNOLOGY CO.,                         §
   LTD. AND SHANGHAI HANSHI                        §
   INFORMATION TECHNOLOGY                          §
   CO., LTD                                        §
                                                   §           Case No. 2:23-cv-00617-RWS-RSP
           Plaintiffs,                             §
                                                   §
   v.                                              §
                                                   §
   SES-IMAGOTAG SA, SES-                           §
   IMAGOTAG GMBH AND                               §
   CAPTANA GMBH                                    §
                                                   §
           Defendants.                             §


                            DECLARATION OF JESSICA VITTORIO

         1.       My name is Jessica Vittorio. I am over the age of 21 years old, and I have never

  been convicted of a felony. I am of sound mind, and I am otherwise competent to make this

  Declaration. For the limited purpose of stating facts in support of VusionGroup GmnH’s Motion

  to Dismiss for Lack of Personal Jurisdiction, I have been designated as the corporate representative

  of VusionGroup GmbH. The facts stated in this Declaration are within my personal knowledge and

  are true and correct.

         2.       I oversee all legal aspects of commercial activities and operations for VusionGroup

  SA in the United States. Because of this, I have working knowledge of how sales are effectuated

  amongst the defendants and other affiliates of VusionGroup SA, including the structure of those

  companies, and the manufacturing, customs, and other logistics involved in U.S. sales of the

  accused products in this case.




  DECLARATION OF JESSICA VITTORIO
  ON BEHALF OF VUSIONGROUP GMBH                                                               PAGE 1
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          3.     VusionGroup SA (f/k/a SES-imagotag SA) is a French corporation and the parent

  company of Defendant VusionGroup GmbH.

          4.     VusionGroup GmbH (formerly SES-imagotag GmbH) is a corporation organized

  and existing under the laws of Austria.

          5.     VusionGroup GmbH, although wholly owned by Vusion Group SA, is a legally

  distinct entity from Defendants VusionGroup SA (formally SES-imagotag SA) and Captana

  GmbH.

          6.     VusionGroup GmbH’s primary business is researching, developing, and licensing

  intellectual property, and not selling products.

          7.     VusionGroup GmbH does not make, sell, offer to sell, or import any accused

  products in the United States or the State of Texas.

          8.     VusionGroup GmbH does not have a place of business or employees in the United

  States or the State of Texas

          9.     My name is Jessica Vittorio. My date of birth is February 6, 1991. I declare under

  penalty of perjury under the laws of the United States of America that the foregoing is true and

  correct.



  Executed on the ___
                  25thday of ________________ 2024.




                                                         Jessica Vittorio




  DECLARATION OF JESSICA VITTORIO
  ON BEHALF OF VUSIONGROUP GMBH                                                            PAGE 2
